Case 0:23-cv-61246-DMM Document 177-1 Entered on FLSD Docket 07/12/2024 Page 1 of 10




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

                                                      )
     JULIE A. SU,                                     )
     Acting Secretary of Labor                        )
     United States Department of Labor,               )
                                                      )
            Plaintiff,                                )
                                                      )      Case Number 0:23-cv-61246-DMM
       v.                                             )
                                                      )
     ARISE VIRTUAL SOLUTIONS INC.,                    )
                                                      )
            Defendant.                                )
                                                      )


                                    SETTLEMENT AGREEMENT

            The Acting Secretary of Labor, United States Department of Labor (the “Department”),

    through the Wage and Hour Division, and Arise Virtual Solutions Inc. (“Arise”) (the Department

    and Arise shall jointly be referred to as the “Parties”), pursuant to their mutual promises and

    intending to be legally bound, hereby stipulate and agree as follows:

            1.      The Department brought suit in the above-captioned matter, Su v. Arise Virtual

    Solutions, Inc., Case Number 0:23-cv-61246-DMM (S.D. Fl.) (the “Lawsuit”), alleging that: (1)

    Arise misclassified Service Partners and their Agents under the Fair Labor Standards Act, 29

    U.S.C. §§ 201 et seq. (“FLSA” or the “Act”) as independent contractors; (2) Arise violated the

    FLSA’s minimum wage provisions with respect to the Service Partners and Agents; (3) Arise

    violated the FLSA’s overtime pay provisions with respect to the Service Partners and Agents;

    and (4) Arise violated the FLSA’s recordkeeping provisions. Per the Court’s July 1, 2024 Order,

    ECF No. 151, the relevant time period (“Relevant Time Period”) for this litigation is June 29,

    2021 through June 29, 2023.



                                                     1
Case 0:23-cv-61246-DMM Document 177-1 Entered on FLSD Docket 07/12/2024 Page 2 of 10




           2.      Arise agrees that it is a covered enterprise under Sections 3(r) and 3(s) of the

    FLSA, 29 U.S.C. §§ 203(r) and 203(s), and that the provisions of the FLSA apply to Arise.

           3.      The Parties desire to avoid the costs and expenses of litigation and have

    determined to resolve all matters in controversy between the Department and Arise regarding the

    alleged violations set forth in Paragraph 2 above, without incurring the expense of trial.

           4.      Accordingly, Arise agrees to the following practices during the Monitoring Period

    as defined by 4(g). Arise’s compliance with these terms shall not constitute evidence of, nor be

    admissible as evidence of, any violation of any provision of the FLSA in any future investigation

    or legal action brought by the Department against Arise (whether or not said legal action is

    brought pursuant to Paragraph 11):

                   a)      Arise will provide for payment of service revenue to the Service Partner

           for work performed by Agents that is at least equivalent to the federal minimum wage for

           all time said Agents spend servicing on the Arise® Platform, including time spent

           waiting for calls to come in; provided, however, that Arise will further ensure that, in

           situations where an Agent services for eight consecutive intervals in otherwise productive

           status, Arise will provide service revenue paid to the Service Partner for said Agent’s

           break time (tracked as self-selected non-productive AUX) for said Agent that is at least

           equivalent to the federal minimum wage for up to a maximum of ten (10) minutes.

                   b)      (i) Arise will provide Service Partners with service revenue for time spent

           by Agents that is at least equivalent to the federal minimum wage for all time said Agents

           spend in the instructor-led portion of certification classes. (ii) In addition, Arise will

           provide Service Partners with service revenue that is at least equivalent to the federal

           minimum wage for the amount of self-paced time that Agents are expected to spend to




                                                     2
Case 0:23-cv-61246-DMM Document 177-1 Entered on FLSD Docket 07/12/2024 Page 3 of 10




          pass certification modules, as disclosed on the relevant Opportunity Announcement. (iii)

          With respect to Paragraph 4(b)(ii), self-paced time may be broken into modules, and each

          module may need to be passed to take the next module. Arise will include in each

          Opportunity Announcement the number of modules and the amount of self-paced time

          that each module is expected to take. Agents need only complete self-paced work for a

          module once, as a result, additional self-paced work for a module is voluntary. This

          budget for self-paced time will only be available the first time an Agent designated by a

          Service Partner takes a particular module. (iii) The intent of Paragraphs 4(a)(i) and

          4(a)(ii) is that the additional service revenue set forth therein should be used by Service

          Partners in its entirety to compensate Agents for all the time spent in the instructor-led

          portion of certification classes and for the expected self-paced time disclosed in the

          relevant Opportunity Announcement. Accordingly, Arise will include the following

          language or its equivalent in Certification Statements of Work with Service Partners:

          “Arise has made the decision to pay service revenue to Service Partners for certification-

          related activity by their Agents. Accordingly, Arise is providing this additional service

          revenue to Service Partners for the purpose of enabling the Service Partner to compensate

          Agents for time spent in connection with certification courses.” Service revenue paid

          under this Paragraph 4 shall include a computation of how the service revenue was

          calculated: based on time spent by Agents with regard to Paragraph 4(b)(i); based on the

          estimated amount of self-paced time disclosed on the Opportunity Announcement with

          regard to Paragraph 4(b)(ii); and based on the time actually spent on voluntary support

          resources with regard to Paragraph 4(c).




                                                     3
Case 0:23-cv-61246-DMM Document 177-1 Entered on FLSD Docket 07/12/2024 Page 4 of 10




                 c)       Arise will provide the Service Partner with an aggregate thirty (30) minute

          budget of service revenue per invoice period that each Agent may elect to spend with

          voluntary support resources and/or technical support (the latter only to the extent the

          technical issues pertain to the Arise Platform, as opposed to the Service Partner or

          Agent’s technology) that is at least equivalent to the federal minimum wage for the

          amount of time, up to the total budgeted amount, that the Agent actually utilizes said

          resources. Any time voluntarily spent in excess of these budgeted hours need not

          generate service revenue.

                 d)       Arise will further provide Service Partners with service revenue that is at

          least equivalent to the applicable federal overtime rate for any time an Agent spends

          servicing, in instructor-led certification, or using the budgeted time with support

          resources referenced in Paragraph 4(c), or any combination thereof, in excess of forty

          (40) hours during a defined one-week period within an invoice period. Arise may

          structure the Arise® Platform in a manner that prohibits Service Partners and their

          designated Agents from servicing enough intervals to trigger federal overtime

          requirements.

                 e)       For purposes of Paragraphs 4(a), 4(b), and 4(c), any platform usage fee

          paid to Arise by the Service Partner during the relevant invoice period for each Agent

          will be deducted from the service revenue paid to the Service Partner when calculating

          whether the aggregate service revenue paid to the Service Partner for time spent by its

          Agent is at least equal to the federal minimum wage, and shall not reduce the aggregated

          service revenue paid to the Service Partner or time spent by the Agent below federal

          minimum wage.




                                                    4
Case 0:23-cv-61246-DMM Document 177-1 Entered on FLSD Docket 07/12/2024 Page 5 of 10




                  f)      Arise will keep records sufficient to demonstrate compliance with this

           Paragraph 4.

                  g)      Arise represents that it needs to implement extensive changes to its

           business operations and software in order to comply with this Paragraph 4. Arise will

           have until March 15, 2025, to comply with the provisions of this Paragraph 4. Arise will

           provide the Department with a written verification confirming the date these changes

           have been fully implemented and compliance has occurred (the “Implementation Date”)

           not later than March 30, 2025. Arise will also provide the Department written reports on

           progress toward implementation on September 30, 2024, December 31, 2024, and June

           30, 2025.

                  h)      Starting on the Implementation Date, and for the twelve (12) month period

           thereafter (the “Monitoring Period”), Arise’s compliance with Paragraph 4 will be

           monitored by Michael J. Loeb (the “Monitor”). The cost of this monitoring will be

           capped at fifty thousand U.S. Dollars and no cents ($50,000.00) and will be paid for by

           Arise; provided, however, that additional compensation may be negotiated by the

           Monitor if more than an agreed-upon number of hours are necessary to fulfill his duties

           hereunder. During the Monitoring Period, Arise agrees to provide the Monitor all

           information reasonably necessary for the Monitor to conduct audits at the six-month and

           twelve-month mark of the Monitoring Period to assess compliance with Paragraphs 4

           through 6.

           5.     It is therefore agreed that Arise shall pay three million U.S. Dollars and no cents

    ($3,000,000.00) to compensate the individuals listed on Exhibit A hereto, all of whom the




                                                    5
Case 0:23-cv-61246-DMM Document 177-1 Entered on FLSD Docket 07/12/2024 Page 6 of 10




    Department alleges to be misclassified as independent contractors, less the amounts designated

    to pay for the cost of third-party administration as referenced in Paragraph 5(c).

                   a)      The payments set forth in this Paragraph shall be paid by Arise to the

           third-party administrator on the following timetable: one payment of one million one

           hundred thousand U.S. Dollars and no cents ($1,100,000.00) no later than December 31,

           2024; four equal payments of three hundred fifty thousand U.S. Dollars and no cents

           ($350,000.00) no later than March 31, June 30, September 30, and December 31, of

           2025, respectively; and two equal payments of two hundred fifty thousand U.S. Dollars

           and no cents ($250,000.00) no later than March 31 and June 30 of 2026, respectively. All

           monies paid hereunder shall be distributed by the third-party administrator to the

           individuals listed on Exhibit A, as described in this Paragraph 5.

                   b)      The Department shall provide Exhibit A to Arise, listing the individuals to

           receive payments and the gross amount of said payments within sixty (60) calendar days

           of July 12, 2024.

                   c)      When the payments set forth in this Paragraph 5 are mailed to the

           individuals set out in Exhibit A, they shall be accompanied by a Notice in the form

           attached hereto as Exhibit B releasing the claims at issue in the investigation and the

           Lawsuit, consistent with 29 U.S.C. § 216(c). The release shall also be in the form of

           Exhibit B. Exhibit A shows, for each individual Agent, the gross amount due. Arise

           shall engage ILYM Group, Inc., a third-party administrator, to hold all funds and

           distribute all payments to the individuals on Exhibit A. The third-party administrator will

           be responsible for maintaining these amounts in a separate fund and distributing them in

           compliance with this Agreement. The cost of engaging the third-party to distribute these




                                                     6
Case 0:23-cv-61246-DMM Document 177-1 Entered on FLSD Docket 07/12/2024 Page 7 of 10




            payments shall not exceed one hundred thousand U.S. Dollars and no cents

            ($100,000.00). Any sums not distributed to the Agents or former Agents on Exhibit A, or

            to their estates, because of inability to locate the proper persons or because of such

            persons’ refusal to accept such sums, shall be deposited with the Treasury of the United

            States pursuant to 29 U.S.C § 216(c). Arise shall have no obligation of any kind with

            respect to said sums after transferring them to the third party administrator.

            6.      On July 12, 2024, the Parties shall execute a Consent Decree and Final Judgment

    and file it with the Court.

            7.      Within ninety (90) calendar days of the full execution of this Settlement

    Agreement, Arise shall provide the Department with a statement showing the following

    information for Arise: Arise’s federal ID number; the name of each individual listed in Exhibit

    A; and each individual’s most recent address on file with Arise. The statement related to Arise

    shall be sent to the U.S. Department of Labor, Wage and Hour Division, care of Daniel Cronin at

    cronin.daniel@dol.gov and to ILYM Group, Inc.

            8.      Arise shall not either directly or indirectly solicit or accept the return or refusal of

    any sums paid or due under this Settlement Agreement. Arise shall not engage in any adverse

    action or in any manner discriminate against any individual listed on Exhibit A as a result of the

    Department's investigations or because any individual (whether or not on Exhibit A) has filed

    any complaint under or related to the Act or has spoken or provided information to the

    Department's representatives in connection with these investigations or participated in or

    received a distribution as a result of this Settlement Agreement or otherwise engaged in activity

    protected by the Act.

            9.      The provisions of this Settlement Agreement shall not in any way affect any legal




                                                       7
Case 0:23-cv-61246-DMM Document 177-1 Entered on FLSD Docket 07/12/2024 Page 8 of 10




    right of any individual not named in Exhibit A.

           10.     In consideration for Arise’s representations above, and its agreement to comply

    with the provisions of this Settlement Agreement and the Act, the Department agrees to refrain

    from instituting any legal action against Arise alleging violations of the FLSA disclosed by the

    aforesaid investigations between June 29, 2021 through July 12, 2024.

           11.     In the event that Arise materially fails to comply with the terms and conditions set

    forth at Paragraphs 4 through 5 above, the Department may, at its option, initiate such

    enforcement action as it deems appropriate, including but not limited to the institution of legal

    action seeking enforcement of this Settlement Agreement, or legal action pursuant to Sections

    16(c), 16(e), and/or 17 of the Act, 29 U.S.C. §§ 216(c), 216(e), and/or 217, against Arise

    regarding any of the violations alleged in the Lawsuit.

                   a)      The Department shall not institute any legal action pursuant to this

           Paragraph 11 without first providing Arise with written notice of the alleged failure to

           comply with Paragraphs 4 through 5, after receipt of such notice Arise shall have sixty

           (60) calendar days to cure said alleged failure to comply. The Department shall not

           institute an action if the alleged failure to comply is cured within said sixty (60) calendar

           day period.

                   b)      In the event the Department initiates such legal action pursuant to Sections

           16(c), 16(e), and/or 17 of the Act, 29 U.S.C. §§ 216(c), 216(e), and/or 217, Arise agrees

           to waive any defense based upon the passage of time since June 29, 2021, including the

           statute of limitations set forth at Section 6 of the Portal-to-Portal Act of 1947, 29 U.S.C. §

           255, and that this Settlement Agreement constitutes the sole evidence required to prove

           such waiver; provided, however, that Arise does not waive any argument regarding the




                                                      8
Case 0:23-cv-61246-DMM Document 177-1 Entered on FLSD Docket 07/12/2024 Page 9 of 10




           appropriate length of the limitations period, including whether it acted willfully, and

           whether or not it acted in good faith, and any and all Court pronouncements on said

           issues shall remain in full force and effect as if this Settlement Agreement does not exist.

           12.     Arise’s compliance with the terms of this Agreement, including but not limited to

    the provisions of Paragraphs 4 through 5, shall not constitute evidence of, nor be admissible as

    evidence of, any violation of any provision of the FLSA in any future investigation or legal

    action brought by the Department against Arise (whether or not said legal action is brought

    pursuant to Paragraph 11).

           13.     Any action commenced for the purpose of enforcing this Settlement Agreement

    may be filed in the United States District Court for the Southern District of Florida and shall be

    deemed a related case to the Lawsuit.

           14.     In the event that the Department commences any action against Arise pursuant to

    Paragraph 11 above, Arise shall be entitled to credits against appropriate liabilities for amounts

    already paid pursuant to this Settlement Agreement.

           15.     By entering into this Settlement Agreement, the Department does not waive its

    right to conduct future investigations under the Act, and to take any and all appropriate

    enforcement action, including assessment of liquidated damages and civil money penalties, with

    respect to any alleged violations disclosed by such investigations.

           16.     The Parties acknowledge and agree that this Agreement and the Parties’

    respective signatures on this Agreement, the Agreement itself, and all actions taken under and/or

    pursuant to this Agreement, are not and shall not be construed as an admission or

    acknowledgement of any fault or wrongdoing of any kind on the part of Arise in any proceeding,

    whether or not involving the Department of Labor.




                                                     9
Case 0:23-cv-61246-DMM Document 177-1 Entered on FLSD Docket 07/12/2024 Page 10 of
                                      10



                    17. This Agreement, and its terms and exhibits, may be modified only in writing

       signed by the parties or the counsel of record for the parties in the Lawsuit.

                    18. This Agreement may be executed in one or more faxed or e-mailed counterparts.

       All executed counterparts, and each of them, shall be deemed to be one and the same

       instrument. Copies of the complete set of executed counterparts may be used for all purposes

       in lieu of the originals and shall have the same force and effect as the originals.

                    19. Arise, the Department, and their respective counsel of record, shall proceed

       diligently to prepare and execute all documents, to seek the necessary Court approvals, and to

       do all other things reasonably necessary to implement this Agreement.

                    20. Each party hereby agrees to bear its own fees and other expenses incurred in

       connection with any stage of this proceeding.



            Stipulated and agreed to by the undersigned as of the 12th day of July, 2024.



    FOR THE ACTING SECRETARY:                                           FOR ARISE VIRTUAL SOLUTIONS, INC:
                                    Digitally signed by DANIEL
         DANIEL CRONIN              CRONIN
    By:                             Date: 2024.07.12 22:11:49 -04'00'   By:
    Daniel Cronin                                                       Cathy Mathews Graf
    Director, Miami District Office                                     General Counsel
    Wage and Hour Division                                              Arise Virtual Solutions Inc.
    U.S. Department of Labor




   4895-1233-8893




                                                                   10
